Case 3:23-cr-00011-RSB-JCH Document 27 Filed 07/05/23 Page 1of1 Pageid#: 202

AO 442 (Rev. 11 11) Arrest Warrant

UNITED STATES DISTRICT COURT

for the

Western District of Virginia [=]

United States of America
V..

Scott Howard Jenkins

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Defendant

Case No. 3:23-cr-00011-1

ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) Scott Howard Jenkins

who is accused of an offense or violation based on the following document filed with the court:

@ Indictment | Superseding Indictment © Information © Superseding Information © Complaint
© Probation Violation Petition © Supervised Release Violation Petition Violation Notice Order of the Court

This offense is briefly described as follows:

Conspiracy, honest services wire and mail fraud, and bribery concerning programs receiving federal funds.

Date: 06/28/2023

City and state: | Charlottesville, VA

1 Deputy Clerk
Issuing officer's signature

Hon. Joel C. Hoppe, U.S. Magistrate Judge

Printed name and title

Return

This warrant was received on (daw) Sewe 2d, Le)? 3 .and the person was arrested on date) Duane L q } 2023

at (city and state) Cc lLaslot tes Vv \\ e ? VA

Date: 7 [5/ 2u23

Arresting officer's signature

Audtww Clovser / Special Axeat

Printed name and title

